               Case 16-15317-MAM             Doc 131      Filed 06/21/19       Page 1 of 1



                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA

IN RE:                                                             Case No: 16-15317-MAM
                                                                   Chapter 13
DELFINO RODRIGUEZ

    Debtor
______________________/

                                     MOTION TO MODIFY PLAN

          COME NOW the Debtor, DELFINO RODRIGUEZ, by and through his undersigned attorney, and
file this Motion to Modify Plan, and as grounds states the following:

         1.     The Debtor filed the instant Chapter 13 Bankruptcy Petition on April 13, 2016.
         2.     An Order Confirming the Chapter 13 Plan was filed on October 21, 2016.
         3.     The Debtor needs to modify his plan to catch up on his payments.
         4.     The Debtor is able to fund the Twelfth Modified plan.
         5.     The Debtor paid $525, including $25 cost, to the undersigned attorney for the modification
                of his Chapter 13 Plan.
         6.     It is in the best interest of all interested parties for the instant Motion to be granted,
                thereby allowing the Debtor to continue paying creditors.
         7.     All creditors have been notified with this Motion and said creditors will not suffer any
                harm or prejudice by this Court granting the instant Motion.

        WHEREFORE, the Debtor, DELFINO RODRIGUEZ, respectfully request that this Court grant the
foregoing Motion to Modify Plan, and enter an Order accordingly, plus any other relief that this Court
deems just and proper.
                                   CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true and correct copy of the foregoing was sent via electronically or
by U.S. Mail to: Office of the U.S. Trustee, U.S. Bankruptcy Court, 51 SW 1st Avenue, Room 1204, Miami,
Florida 33130; Robin Weiner, Trustee, P.O. Box 559007, Ft. Lauderdale, FL 33355; and all creditors on
the attached list this 21st day of June, 2019.

        I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
court set forth in local Rule 2090-1(A).


                                                                   By: /s/ Drake Ozment, Esq.
                                                                   Drake Ozment, Esq.
                                                                   Attorney for Debtor/Movant
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